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                  IN THE UNITED STATES DISTRICT COURT

                  FOR THE DISTRICT OF MASSACHUSETTS

CENTRO PRESENTE, a membership             )
organization, et al.,                     )
                                          )
        Plaintiffs,                       )
                                          )
        v.                                )   Case No. 1:18-cv-10340
                                          )
DONALD J. TRUMP, President of the United  )
States, in his official capacity, et al., )
                                          )
        Defendants.                       )
__________________________________________)

      DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ MOTION TO COMPEL
                DISCOVERY FROM THE WHITE HOUSE
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                                       INTRODUCTION

       In this challenge to the Secretary of Homeland Security’s decisions to terminate Temporary

Protected Status (“TPS”), Plaintiffs now move to compel discovery from the President and his

close White House advisors. In support of their motion, Plaintiffs contend that they need discovery

from the White House to determine whether the White House officials “exerted influence” on

Department of Homeland Security (“DHS”) officials. When faced with similar arguments, other

courts have appropriately limited any discovery of White House communications to those

communications contained in an agency’s files. This Court should likewise limit discovery of

White House communications to material contained in DHS’s files, and reject Plaintiffs’ motion

to compel discovery on the White House.

       Despite Defendants having already produced more than 75,000 pages in discovery in this

matter, Plaintiffs have propounded multiple improper and burdensome discovery requests on the

President and his White House advisors. Such requests are in direct conflict with Cheney v. U.S.

District Court for the District of Columbia, 542 U.S. 367 (2004), in which the Supreme Court

made clear that, given the potential for constitutional confrontation, different rules apply when a

party seeks discovery from the White House. Pursuant to separation-of-powers considerations,

the Supreme Court in Cheney expressly rejected the notion that the Executive Branch at its highest

level shall bear the initial burden of invoking executive privilege with specificity or making

particular objections to discovery on a line by line basis in order to safeguard executive functions

and maintain the separation of powers. 542 U.S. at 383, 388.

       It is, accordingly, improper for Plaintiffs to ask this Court to impose the initial burden on

the White House and “in particular President Trump” to collect all documents responsive to their

requests and to “log all withheld documents with specific references to . . . privilege(s).” See

Plaintiffs’ Memorandum to Compel Responses to White House Discovery Requests (“Pls.’

                                                 1
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Mem.”), ECF No. 75, at 2. Rather, the predicate question properly before this Court is whether

discovery from the White House in the form of the burdensome requests Plaintiffs have

propounded should be allowed in the first instance, especially given Cheney’s direction that a court

must “explore other avenues” before triggering separation of powers concerns inherent in

discovery propounded on the White House. Cheney, 542 U.S. at 390. In this case, the alternative

avenue for the discovery Plaintiffs seek is for Defendants to search for and review White House

communications in DHS files, which Defendants are already doing. Plaintiffs have provided no

basis on which to require the White House to search its own files for such communications. Such

a fishing expedition would impose exactly the type of intrusion into the White House that the

Supreme Court in Cheney admonished against.

       Further, notwithstanding Plaintiffs’ conclusory assertion that their discovery is discrete and

limited, the requests would impose substantial burdens. That is best illustrated by Plaintiffs

seeking the White House to undergo the burdensome task of preparing for a 30(b)(6) deposition.

But, even beyond that, a close examination of Plaintiffs’ document requests demonstrate that they

improperly seek “everything under the sky” concerning White House communications about TPS.

See Cheney, 542 U.S. at 388. For example, they seek extensive discovery of former Chief of Staff

John Kelly’s internal White House communications concerning TPS.              Likewise, they seek

extensive internal White House communications concerning the White House’s recommendations

for upcoming TPS decisions. Such broad requests reflect the very type of demands that the

Supreme Court rejected in Cheney. These requests are particularly unwarranted here given that

Plaintiffs seek discovery about whether the Secretary of Homeland Security acted upon purported

improper influence from the White House, which can be responded to pursuant to the discovery of

documents within DHS’s files.



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       In the event that this Court were to grant a motion permitting discovery on the White

House, Defendants respectfully request that the Court stay its Order to allow for Defendants to

consider their appellate options. As the Supreme Court found in Cheney, mandamus is particularly

warranted in addressing a discovery order that demands the White House to search and review

documents for privilege. See Cheney, 542 U.S. at 381-382. Indeed, just last year, the Ninth Circuit

stayed during the pendency of the appeal an order concerning, inter alia, White House discovery.

See In re Donald J. Trump, Order, No. 18-72159 (9th Cir. Sept. 17, 2018), Dkt. No. 36. Here,

there is no impending deadline to justify immediate discovery. All of the TPS terminations at

issue in this litigation are either enjoined or stayed pending appellate review of a preliminary

injunction in the Ninth Circuit, and oral argument has not even yet been scheduled in that matter.

Accordingly, this Court should stay any order requiring discovery of the White House to allow for

Defendants to consider their appellate options in light of the serious separation of powers concerns

that would be implicated by such an order.

                                        BACKGROUND

       This case is one of six cases challenging the recent terminations of TPS for at least one of

six countries. See NAACP v. DHS, et al., Civil Action No. 1:18-CV-239 (D.Md.); Ramos, et al. v.

Nielsen, et al., Civil Action No. 3:18-CV-1554 (N.D. Cal.); Saget, et al. v. Trump, et al., Civil

Action No. 1:18-CV-1599 (E.D.N.Y.); Casa de Maryland, et al., v. Trump, et al., Civil Action No.

8:18-CV-845 (D.Md.); Bhattarai, et al. v. Nielsen, et al., Civil Action No. 3:19-CV-731 (N.D.

Cal.). In the present case, Plaintiffs challenge the TPS terminations for Haiti, El Salvador, and

Honduras. Those terminations are all currently enjoined or stayed pending further review by the

Ninth Circuit. In particular, the district court in Ramos entered a preliminary injunction in October

2018 for the terminations of TPS for Haiti and El Salvador, as well as of Nicaragua and Sudan.

See Ramos (ECF No. 128). That preliminary injunction is now pending before the Ninth Circuit
                                                 3
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and currently set to be argued sometime this summer. See Order, No. 18-16981 (9th Cir. March

7, 2019), Dkt. No. 53. Per agreement of the parties, the district court proceedings are stayed and

no termination of any the countries at issue can take effect for nearly six months following any

decision by the Ninth Circuit vacating the preliminary injunction. 1 See Ramos (ECF No. 138).

Similarly, the parties entered an agreement in Bhattarai that stays the terminations of TPS for

Honduras and Nepal pending the appellate resolution of the Ramos appeal. See Bhattarai (ECF

No. 23). Like the TPS terminations at issue in Ramos, the terminations for Honduras and Nepal

cannot take effect for nearly six months following any decision to vacate the Ramos preliminary

injunction. See id. Given the potential argument dates identified by the Ninth Circuit for Ramos,

it is extremely unlikely that any termination would be able to take effect this year.

       Although the six cases are at various stages of litigation, no court has issued any discovery

orders directly to the President or White House officials. In Ramos, the district court entered a

preliminary injunction against Defendants without necessitating discovery on the White House.

During the course of responding to the court-ordered expedited discovery of DHS in that case,

Defendants produced documents within DHS’ files containing communications, or notes

memorializing those communications, between White House officials and senior DHS officials,

including the Acting Secretary of Homeland Security.             See, e.g., Ramos (ECF No. 113)

(Administrative Record Index for Haiti containing such communications). 2




1
  The stay is for 120 days after the mandate is issued to the district court but, under the rules of the
Ninth Circuit, the mandate would not issue for 52 days after any Ninth Circuit opinion vacating
the preliminary injunction. The agreement in Ramos allows the plaintiffs to seek discovery prior
to the mandate being issue should the Ninth Circuit vacate the preliminary injunction. See id.
2
  For some of these produced documents in that case, Defendants voluntarily produced them and,
for others, Defendants were ordered to produce them over their objections.


                                                   4
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       In Saget, which concerns the Haiti termination, Defendants moved on December 5, 2018,

for a protective order establishing that Defendants need not respond to discovery propounded on

the President or other White House custodians. See Saget (Saget ECF Nos. 81, 93) (“the Saget

Motion”). In the Saget Motion, Defendants explained, inter alia, that they provided a sufficient

alternative by reviewing documents within DHS’s files for communications with White House

officials. See id. The Saget Motion remains pending before the district court. In the meantime,

however, the district court was able to conduct a complete, four-day trial and the parties were able

to submit their respective findings of facts and conclusions of law—without the necessity of

discovery on the White House. See Saget, Minute Entry, January 10, 2019 (noting that “Bench

Trial completed on 1/10/2019”); Saget ECF Nos. 135-147,153-54. This issue of discovery on the

White House has not yet been squarely presented in other TPS litigation. 3

       In the present case, Plaintiffs did not stage their discovery requests by first seeking

discovery on DHS before trying to propound discovery on the White House. Rather, on September

18, 2019, they served their first set of discovery requests on both the DHS and the White House.

These requests encompass, inter alia, the document requests on the White House and the 30(b)(6)

deposition notice on the White House that are the subject of this motion to compel. See ECF Nos.

76-1; 76-2. Defendants, recognizing immediately their anticipated objections to discovery on the

White House, informed Plaintiffs of these objections within ten days after receiving service of the

requests. See ECF No. 76-3. Defendants, however, explicitly noted that “Defendants will produce

non-privileged documents held by identified custodians at the Department of Homeland Security

(“DHS”) and relevant constituents (documents that may include communications involving White



3
  Defendants’ objections to the first set of discovery requests in Casa de Maryland are due March
25, 2019, and Defendants are expecting to object to the requests to the extent they seek material
from the White House.
                                                 5
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House personnel)[.]” See id. at 2. As for proffering a 30(b)(6) White House deponent or

responding to document requests propounded on the White House, Defendants emphasized the

impropriety of such requests and “propose[d] that the parties meet and confer to discuss an

appropriate mechanism for bringing this important matter to Judge Casper’s attention.” Id. at 2-3.

Defendants served their formal objections on October 18, 2018. See ECF No. 76-5.

         The parties were unable to resolve their differences in a meet-and-confer, and Plaintiffs

have now moved to compel discovery on their original requests. Yet, since those requests,

Defendants produced from DHS’s files the vast majority of the approximately 9,500 documents

(totaling more than 75,000 pages) produced to date, with limited or no redactions files. 4 As

Plaintiffs acknowledge, these include communications between White House and DHS’s officials.

See Pls.’ Mem. at 12 (providing a sampling of documents in their possession of White House

communications).

         The discovery requests at issue, including the 30(b)(6) deposition notice, are enumerated

in Plaintiffs’ motion to compel. See Pls.’ Mem. at 3-4 (quoting document requests at issue); Notice

of 30(b)(6) Deposition to Defendant Donald J. Trump’s Office of Policy (ECF No. 76-2).

                                   STANDARD OF REVIEW

         The Court has broad authority to control the nature and timing of discovery, and “should

not hesitate to exercise appropriate control over the discovery process.” Herbert v. Lando, 441

U.S. 153, 177 (1979). Rule 26(b) of the Federal Rules of Civil Procedure directs a district court

to limit the scope of discovery if “the discovery sought is unreasonably cumulative or duplicative,

or can be obtained from some other source that is more convenient, less burdensome, or less

expensive[.]” Fed. R. Civ. P. 26(b)(2)(C)(i). Although there is often a presumption in favor of



4
    Defendants have also logged thousands of additional documents as privileged.
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disclosure of non-privileged material, “[i]n some circumstances, . . . the requesting party should

be required to assume a heavy burden of persuasion before any discovery is allowed.” See Cheney,

542 U.S. at 392 (Stevens, concurring).

                                           ARGUMENT

   I.      Plaintiffs’ Invitation for this Court to Resolve Questions of Privilege in
           Determining the Appropriateness of White House Discovery is in Direct
           Contravention of Supreme Court Precedent.

        Plaintiffs’ entire motion is incorrectly premised on whether certain privileges should attach

to White House documents in this case. See Pls.’ Mem. at 8-19. In making this argument,

Plaintiffs make the extraordinary assertion that the Presidential Communications Privilege and the

Deliberative Process Privilege should not apply to unidentified documents given their purported

need for these documents. See id. at 9-11, 18-19. That analysis has it completely backwards. See

Cheney, 542 U.S. at 385 (declaring that “[a] party’s need for information is only one facet of the

problem” when “discovery requests are directed to the Vice President and other senior Government

officials” and the “Executive Branch, at its highest level, is seeking the aid of the courts to protect

its constitutional prerogatives.”). Rather, the first question presented under Cheney is whether the

White House should be required to search for and review documents in the first place or rather

other avenues exist for addressing any legitimate need. Id. at 391 (holding that the D.C. Circuit

“relying on its mistaken reading of United States v. Nixon, prematurely terminated its inquiry after

the Government refused to assert privilege and did so without even reaching the weighty

separation-of-powers objections raised in the case’”).

        Plaintiffs’ discovery requests are extraordinary. They are directed to the sitting President

of the United States and his top White House advisors in a civil suit challenging a decision by the




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Secretary of Homeland Security. 5 The intrusions and burdens of civil discovery, if imposed on

the White House, would disrupt the functioning of the Executive Branch and raise substantial

separation-of-powers concerns. Litigants must therefore exhaust other sources of non-privileged

discovery before courts may put the Executive to the burden of either responding to interrogatories,

request for productions, and other discovery requests, or formally asserting executive privilege.

See Cheney, 542 U.S. at 383, 388. Plaintiffs have not come close to meeting their burden here.

       Unlike other Government officials, the President maintains unique “constitutional

responsibilities and status . . . .” Nixon v. Fitzgerald, 457 U.S. 731, 753 (1982). The President is

“the chief constitutional officer of the Executive Branch,” and is “entrusted with supervisory and

policy responsibilities of utmost discretion and sensitivity.” Id. at 750. What is more, the

President’s “communications and activities encompass a vastly wider range of sensitive material

than would be true of any ‘ordinary individual.’” Cheney, 542 U.S. at 381 (quoting United States

v. Nixon, 418 U.S. 683, 715 (1974)). Thus, “special considerations control when the Executive

Branch’s interests in maintaining the autonomy of its office and safeguarding the confidentiality

of its communications are implicated.” Am. Historical Ass’n v. NARA, 402 F. Supp. 2d 171, 182

(D.D.C. 2005) (quoting Cheney, 542 U.S. at 385). Indeed, the Supreme Court “has held, on more

than one occasion, that ‘[t]he high respect that is owed to the office of the Chief Executive . . . is

a matter that should inform the conduct of the entire proceeding, including the timing and scope

of discovery[.]’” Cheney, 542 U.S. at 385 (quoting Clinton v. Jones, 520 U.S. 681, 707 (1997));




5
  For the reasons stated in Defendants’ motion to dismiss, Defendants continue to believe that the
President is not a proper defendant in this action. See Mississippi v. Johnson, 71 U.S. (4 Wall)
475, 501 (1866); Franklin v. Massachusetts, 505 U.S. 788, 802 (1992) (plurality opinion); id. at
827 (Scalia, J., concurring in part and concurring in the judgment) (“apparently unbroken historical
tradition supports the view” that courts may not order the President to “perform particular
executive . . . acts”).
                                                  8
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see also Fitzgerald, 457 U.S. at 753 (“Courts traditionally have recognized the President’s

constitutional responsibilities and status as factors counseling judicial deference and restraint.”).

        Discovery directed to the White House triggers weighty separation-of-powers concerns.

Cheney, 542 U.S. at 383. District “courts must narrow overly broad and intrusive discovery

requests directed at the highest levels of the Executive Branch, lest ‘vexatious litigation . . . distract

[the Executive Branch] from the energetic performance of its constitutional duties.’” Batalla Vidal

v. Duke, No. 16-CV-4756, 2017 WL 8773110, at *4 (E.D.N.Y. Oct. 17, 2017) (Garaufis, J.)

(alterations in original) (citing Cheney, 542 U.S. at 382) (finding that a magistrate’s order

“requiring the White House to identify and assert privilege with respect to specific documents or

risk waiving privilege over those documents [] potentially raises constitutional concerns akin to

those at issue in Cheney”); cf. In re Kirstjen M. Nielsen, Secretary of Homeland Security, 17-3345,

Dkt. No. 171 (2d. Cir. Dec. 27, 2017). (explaining that a discovery order covering White House

documents would “creat[e] possible separation of powers issues”).

        In Cheney, the Supreme Court followed a long line of authority dating back to Marbury v.

Madison, 5 U.S. (1 Cranch) 137, 170 (1803), protecting the confidentiality of presidential

communications, see generally In re Sealed Case, 121 F.3d 729, 738-40 (D.C. Cir. 1997)

(reviewing history of presidential communications privilege), and emphasizing the requirement

for a “focused demonstration of need,” id. at 746. Cheney held that it is impermissible for a civil

litigant to propound broad-based and wide-ranging discovery requests and then require “the

Executive Branch to bear the onus of critiquing the unacceptable discovery requests line by line.”

542 U.S. at 388. Rather than put the White House to the substantial and constitutionally intrusive

burden of searching for responsive documents and invoking privilege with regard to each

document to which a privilege might apply, under Cheney the district court must hold the plaintiff



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to a heightened standard of relevance and need. As the Supreme Court explained, “precedents

provide no support for the . . . requirement that the Executive Branch bear the burden of invoking

executive privilege with sufficient specificity and of making particularized objections. Indeed,

those precedents suggest just the opposite.” Id. at 371. 6

       Cheney thus compels district courts to either preclude or, at a bare minimum, sharply

condition and curtail discovery requests directed to the White House. Such requests must be

allowed only when plaintiffs can show that the discovery sought is necessary to their case by first

exhausting alternative sources of non-privileged discovery. Plaintiffs must demonstrate that the

requests are limited to essential information that cannot otherwise be obtained. See Lardner v.

Dep’t of Justice, No. 03-0180, 2005 WL758267, at *9 (D.D.C. Mar. 31, 2005) (citing Cheney for

the proposition that “a court must screen a request for presidential documents to ensure that the

discovery is essential to the proceedings”).




6
  Plaintiffs’ threshold obligations in cases such as this one, in which Plaintiffs seek civil discovery
from the Executive Branch at its highest level, are greater than the obligations imposed on the
special prosecutor in Nixon. As the Cheney Court observed, “[t]he need for information for use in
civil cases, while far from negligible, does not share the urgency or significance of the criminal
subpoena requests in Nixon.” 542 U.S. at 384. Because it is a “primary constitutional duty of the
Judicial Branch . . . to do justice in criminal prosecutions[,]” the withholding of information “from
a tribunal in an ongoing criminal case when the information is necessary to the court in carrying
out its tasks ‘conflicts with the function of the courts under Art[icle] III.’” Id. (citations omitted).
“Such an impairment of the ‘essential functions of another branch,’ . . . is impermissible.” Id.
(citation omitted). In contrast, the withholding of information in a civil case “does not hamper
another branch’s ability to perform its ‘essential functions’ in quite the same way.” Id.
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   II.      Plaintiffs Have Available Alternative Avenues of Exploration That Must Be
            Pursued In Lieu Of Imposing the Burden and Separation of Powers Concerns
            Contemplated by Discovery on the White House.

         In light of the Supreme Court’s instruction in Cheney, Plaintiffs’ requests directed to the

White House are inappropriate for at least three reasons.            First, Plaintiffs’ requests are

impermissibly and unjustifiably intrusive, as they pertain to presidential communications.

Plaintiffs wish to learn who may have spoken with the President or his advisors about TPS, when

they did so, what they said, and what documents they passed along. In other words, Plaintiffs’

requests, on their face, plainly seek constitutionally protected presidential communications. If

permitted to proceed, such onerous discovery would inevitably set the Executive and Judicial

Branches “on a collision course” through adjudications of executive privilege, thrusting the court

into “the awkward position of evaluating the Executive’s claims of confidentiality and autonomy,”

and “difficult questions of separation of powers and checks and balances” are pushed to the fore.

Cheney, 542 U.S. at 389. When an agency or current or former government official possesses

documents or information reflecting White House communications, courts are thrust into “the

awkward position of evaluating the Executive’s claims of confidentiality and autonomy,” and

“difficult questions of separation of powers and checks and balances” are pushed to the fore.

Cheney, 542 U.S. at 389. Cheney’s admonition that there is “no support for the proposition that

the Executive Branch ‘shall bear the burden’ of invoking executive privilege” before absolutely

necessary, id. at 388 (citation omitted), undoubtedly applies to materials Plaintiffs that seek here.

         Second, the requested discovery would be unduly burdensome, and would distract White

House officials, who bear significant responsibility for the day-to-day operations of government,

from their essential mission. The burden imposed on the White House by discovery orders is an

“important factor” to be considered by courts, due to the special deference and “the high respect


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that is owed to the office of the Chief Executive[.]” Cheney, 542 U.S. at 385 (citation omitted).

Structuring and conducting a search would be burdensome enough, but the burden is amplified

where, as here, responsive materials would likely fall within the ambit of one or more executive

privileges, such as the presidential communications privilege. Even seemingly discrete tasks such

as preparing and executing a declaration formally invoking executive privilege with specificity is

an intrusive, burdensome, and time-consuming task that would detract from the many

constitutional responsibilities of the President and his advisors.

       Like in Cheney, Plaintiffs’ requests improperly seek “everything under the sky.” See

Cheney, 542 U.S. at 387-88. For example, Plaintiffs seek a far-ranging 30(b)(6) deposition

concerning all matters TPS. See Notice of 30(b)(6) Deposition to Defendant Donald J. Trump’s

Office of Policy (ECF No. 76-2) at 5 (listing nine topics covering, inter alia, the communications

White House staff had concerning the challenged TPS designations). The very nature of a 30(b)(6)

deposition imposes a heavy burden on any organization in the normal course, let alone an

organization vested with significant constitutional responsibilities such as the White House. See

Fed. R. Civ. P. 30(b)(6) (requiring the “named organization” to “designate one or more officers,

directors, or managing agents, or designate other persons who consent to testify on its behalf” and

the “matters on which each person designated will testify”). Such a deposition in this case is

especially inappropriate because Plaintiffs seek such a deposition concerning internal White House

considerations of a policy matter.

       Further, contrary to Plaintiffs’ characterizations, the document requests are not limited

merely to a handful of documents considered at a meeting. Instead, Plaintiffs seek widespread

discovery from the White House. For instance, Plaintiffs seek in Document Request Number 30,

“[a]ny and all communications concerning the proposal to simultaneously terminate the TPS



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designations for El Salvador, Haiti, Honduras, and Nicaragua discussed in the Principals Small

Group Meeting on November 3, 2017.” See Pls.’ Mem. at 4. To respond to such a request,

Defendants would have to search all White House files concerning considerations about these TPS

designations to assess whether the communications related to any proposal that was to be discussed

at such a meeting. 7 Similarly, Plaintiffs’ far-ranging Request Number 27 seeks all internal White

House communications former Chief of Staff John Kelly may have had about TPS. 8 Finally, the

disproportionate burden is further magnified by Plaintiffs essentially requesting that the White

House search for all communications the White House had with DHS even though Defendants are

already searching for those communications within DHS’s files. See, e.g., id. at 3 (Requests

Numbers 5, 13).

       Finally, Plaintiffs have not shown that the enormous volume of discovery already available

to them is inadequate for purposes of litigating their claims. Plaintiffs claim they need this

information to determine whether the White House has “exerted influence over DHS officials.”

See id. at 10. But the Government has already produced from DHS’s files approximately 9,500

documents, containing more than 75,000 pages, that have limited or no redactions. 9 As Plaintiffs

themselves recognize, these documents include communications or the memorialization of




7
 Request number 31 similarly seeks “communications” relating to any such proposal. See Pls.’
Mem. at 4. Request number 24 likewise seeks a broad request of the White House’s
communications with Congress, which would require a broad search to identify any such
documents.
8
  This request involving the White House Chief of Staff implicates core executive privileges.
Similarly, request numbered 22 and 23 seek internal White House documents relating to purported
statements by the President and would necessarily require review of whether those internal
documents implicate privilege. See Pls.’ Mem. at 3-4.
9
 As discussed above, Defendants have also logged thousands of additional documents as
privileged.
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communications between White House and DHS officials. See id. at 12 (listing several examples

of such communications in their possession). Presumably, if there was any improper influence

on DHS, the best source of that evidence would be in DHS’s files. Moreover, discovery is ongoing,

and the Government will continue to produce responsive, non-privileged documents held by

agency custodians. In fact, these custodians whose files have been searched at DHS include the

Secretary of Homeland Security, a former Secretary of Homeland Security (John Kelly), and a

former Acting Secretary of Homeland Security, as well as other senior DHS officials.

       The district court in Ramos, found that the record was sufficient, without requiring

discovery on the White House, to resolve the plaintiffs’ motion for preliminary injunction.

Similarly, the district court in Saget conducted an entire trial concerning the TPS termination for

Haiti without ordering discovery on the White House, notwithstanding the plaintiffs in that case

seeking such discovery. Accordingly, despite the instant case being akin to Ramos and Saget,

Plaintiffs cannot show why they need to impose highly intrusive burdens on the White House and

the President, and raise separation of powers concerns, when they will have more than an adequate

record from discovery on the Department of Homeland Security to litigate this case.

       Other courts in similar contexts have limited discovery of White House communications

to documents contained in the files of cabinet agencies, notwithstanding allegations that the White

House improperly influenced those decisions. In Batalla Vidal concerning a challenge to the

revocation of Deferred Action for Childhood Arrivals (“DACA”), the district judge limited a

magistrate judge’s order so that the Government was required to “compile a privilege log only

with respect to DHS and [Department of Justice] documents” rather than documents held by White

House custodians. See 2017 WL 8773110 at *4; see also id. (“By requiring the White House to

identify and assert privilege with respect to specific documents or risk waiving privilege over those



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documents . . . the Order potentially raises constitutional concerns akin to those at issue in

Cheney.”); cf. In re Kirstjen M. Nielsen, Secretary of Homeland Security, 17-3345, Dkt. No. 171

(2d. Cir. Dec. 27, 2017). Here, Defendants are already doing as much and discovery should be

limited in such a fashion.

          Because of the serious privileges implicated in any request on the White House, and the

associated separation of powers concerns, it is even more critical that a plaintiff and a court first

explore all other avenues before imposing such burdens. Indeed, the Supreme Court in Cheney

reversed the D.C. Circuit’s requirement that the documents must be reviewed and logged. See id.

at 390 (finding that “there is sound precedent in the District of Columbia itself for district courts

to explore other avenues, short of forcing the Executive to invoke privilege, when they are asked

to enforce against the Executive Branch unnecessarily broad subpoenas”). Similarly here, it is

premature for this Court to examine these questions of privilege. Rather, the sole matter to be

addressed in resolving Plaintiffs’ motion is the antecedent question of whether the discovery

contemplated on the White House is proper, especially in light of the alternative avenue available

to Plaintiffs to seek discovery of White House communications with DHS officials that are

contained in DHS’s files. At the very least, it would be improper for this Court to make a

categorical ruling on privilege when Defendants have not even had an opportunity to assert the

privilege for the particular documents Plaintiffs now seek. See, e.g., In re Grand Jury Subpoena

(Mr. S.), 662 F.3d 65, 71 (1st Cir. 2011) (“Determining whether documents are privileged demands

a highly fact-specific analysis—one that most often requires the party seeking to validate a claim

of privilege to do so document by document.”).

   III.      This Court Should Stay Any Order Authorizing Discovery on the White House to
             Allow Defendants to Consider their Appellate Options.

          To the extent that this Court agrees with Plaintiffs, even in part, and orders discovery on


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the White House, this Court should not order the seemingly impossible task of requiring the White

House to produce or log all documents within 14 days, as requested by Plaintiffs. Rather,

Defendants respectfully request that this Court stay its order for 30 days to give Defendants

sufficient time to explore its appellate options.

       And, should Defendants seek further review, Defendants respectfully ask that this Court

continue its stay of its order pending completion of such appellate proceedings. Earlier this year

the Ninth Circuit likewise stayed a district court discovery order in Karnoski v. Trump, No. C17-

1297-MJP (W.D. Wash.), pending the Ninth Circuit’s consideration of the Government’s petition

for a writ of mandamus concerning White House discovery. See In re Donald J. Trump, No. 18-

72159 (9th Cir. Sept. 17, 2018), Dkt. No. 36. Here, in the absence of any legal justification for

Plaintiffs’ demands, the Court should protect the White House from responding to such discovery

until Defendants can fully avail itself of their appellate options.

       The pursuit of such appellate options is in fact expressly contemplated by Cheney. The

Supreme Court found that mandamus was proper given that the “facts and allegations remove this

case from the category of ordinary discovery orders where interlocutory appellate review is

unavailable, through mandamus or otherwise.” See Cheney, 542 U.S. at 381-382. Given that there

is no impending deadline at issue in this litigation—all the terminations at issue are either enjoined

or stayed—it is even more prudent to stay any order permitting discovery on the White House.

                                          CONCLUSION

       For the foregoing reasons, this Court should deny Plaintiffs’ motion to compel.



Dated: March 22, 2019                          Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the Court’s CM/ECF system will be served

electronically on March 22, 2019, on the registered participants as identified on the NEF.


                                                                           /s/ Adam D. Kirschner
                                                                         ADAM D. KIRSCHNER




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